     Case 2:18-cv-00148-SAB    ECF No. 60    filed 09/15/20   PageID.855 Page 1 of 3



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 2                                                                      FILED IN THE
                                                                    U.S. DISTRICT COURT
 3                                                            EASTERN DISTRICT OF WASHINGTON



 4                                                            Sep 15, 2020
 5                                                                 SEAN F. MCAVOY, CLERK




 6                        UNITED STATES DISTRICT COURT
 7                     EASTERN DISTRICT OF WASHINGTON
 8
 9
10 ALFREDO CRUZ ESQUIVEL, as an              No. 2:18-CV-00148-SAB
11 individual; and DONALD DAVID
12 WILLARD, as an individual,                ORDER GRANTING STIPULATED
13               Plaintiffs,                 MOTION TO FILE SECOND
14               v.                          AMENDED COMPLAINT,
15 THE UNITED STATES OF                      DISMISS CIVIL RIGHTS CLAIMS,
16 AMERICA, acting through its agent         AND ENTER FINAL ORDER OF
17 BUREAU OF LAND                            DISMISSAL
18 MANAGEMENT; ARMANDO
19 FONSECA, an individual, in both his
20 personal and representative capacities;
21 and TOM DOE, a BUREAU OF
22 LAND MANAGEMENT
23 EMPLOYEE OR CONTRACTOR, in
24 both his personal and representative
25 capacities,
26               Defendants.
27
28
     ORDER GRANTING STIPULATED MOTION TO FILE SECOND
     AMENDED COMPLAINT, DISMISS CIVIL RIGHTS CLAIMS, AND
     ENTER FINAL ORDER OF DISMISSAL * 1
        Case 2:18-cv-00148-SAB   ECF No. 60    filed 09/15/20   PageID.856 Page 2 of 3



 1          Before the Court is the parties’ Stipulated Motion to: 1) File Second
 2 Amended Complaint (SAC); 2) Grant United States’ Motion to Dismiss Civil
 3 Rights Claims; and 3) Enter Final Order of Dismissal, ECF No. 59. The parties
 4 stipulate and agree to Plaintiffs’ filing a Second Amended Complaint to address
 5 standing issues raised in the United States’ Motion to Dismiss Civil Rights claims,
 6 ECF No. 54. The parties stipulate and agree that, after the Second Amended
 7 Complaint has been accepted for filing, the Court may enter an Order granting the
 8 United States Motion to Dismiss Plaintiff’s Civil Rights Claims, ECF No. 54. The
 9 parties also stipulate and agree that this case should be dismissed in its entirety,
10 with final judgment in favor of the United States.
11          Accordingly, IT IS HEREBY ORDERED:
12          1. The parties’ Stipulated Motion to: 1) File Second Amended Complaint
13 (SAC); 2) Grant United States’ Motion to Dismiss Civil Rights Claims; and 3)
14 Enter Final Order of Dismissal, ECF No. 59, is GRANTED.
15          2. Per ECF No. 56, Defendants’ Motion to Dismiss Civil Rights Claims,
16 ECF No. 54, is dismissed as moot.
17          3. This case is dismissed. The District Court Clerk shall enter judgment in
18 favor of the United States.
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     ORDER GRANTING STIPULATED MOTION TO FILE SECOND
     AMENDED COMPLAINT, DISMISS CIVIL RIGHTS CLAIMS, AND
     ENTER FINAL ORDER OF DISMISSAL * 2
     Case 2:18-cv-00148-SAB    ECF No. 60     filed 09/15/20   PageID.857 Page 3 of 3



1        4. Plaintiffs do not waive their appellate rights relative to the Court’s prior
2 Orders, including the Court’s Order Granting Defendants’ Motion to Dismiss
3 Plaintiff’s Federal Tort Claims Act claims, ECF No. 49.
4        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
5 this Order, enter judgment in favor of Defendants, provide copies to counsel, and
6 close the file.
7        DATED this 15th day of September 2020.
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                                                    Stanley A. Bastian
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                                            Chief United States District Judge
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     ORDER GRANTING STIPULATED MOTION TO FILE SECOND
     AMENDED COMPLAINT, DISMISS CIVIL RIGHTS CLAIMS, AND
     ENTER FINAL ORDER OF DISMISSAL * 3
